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 5
 6
 7              IN THE    UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,         )       1:07-CR-0057-0WW
10                                     )
                 Plaintiff,            )       STIPULATION TO CONTINUE STATUS
11                                     )       CONFERENCE and ORDER
          v.                           )
12                                     )
     THOMAS SANCHEZ,                   )
13                                     )
                 Defendant.            )
14                                     )
                                       )
15
16        IT IS HEREBY STIPULATED by and between the parties hereto
17   through their respective counsel, Stanley A. Boone,          Assistant
18   United States Attorney for Plaintiff, and Galatea R. DeLapp,
19   Attorney for Defendant, Thomas Sanchez,       that the Status
20   Conference set for May 28, 2008, at 12:00 p.m., may be continued
21   to June 2, 2008, at 1:30 p.m.
22   //
23   //
24   //
25   //
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28                                         1
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 1           The parties further stipulate and agree that the resulting
 2   period of delay occurring May 28, 2008, and June 2, 2008, shall be
 3   excluded pursuant to 18 U.S.C. Sections 3161(h)(1)(F) and
 4   3161(h)(1)(I).
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 6
 7
 8
 9
                                            McGREGOR W. SCOTT
10                                          United States Attorney
11
     DATED:    May 27, 2008           By    /s/ Stanley A. Boone
12                                          STANLEY A. BOONE
                                            Assistant U.S. Attorney
13
14
15   DATE:    May 27, 2008            By    _/s/ Galatea R. DeLapp
                                            GALATEA R. DeLAPP
16                                          Attorney for Thomas Sanchez
17
                                       ORDER
18
19   IT IS SO ORDERED.
20   Dated: May 28, 2008                   /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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